Case 1:19-cr-00696-PAE Document 145-2 Filed 07/07/20 Page 1 of 2




July 6, 2020


The Honorable Paul A. Engelmayer
United States District Court
Souther District of New York
40 Centre Street, New York, NY 10007


Judge Paul Engelmayer,

Ari Teman and I are colleagues and friends. Our healthcare technology lives first
intertwined a decade ago at Ari’s 12Gurus Healthcare Conference in New York. He
put together an excellent line-up of storytellers in medicine, health tech
infrastructure, and patient-centric care and provided a thought-provoking and
community-building experience. Held on the Broadway show Avenue Q’s stage
(during the daylight hours as to not interfere with the box office hit), Ari designed an
intimate experience for the audience, vendors, and speakers… and it worked
beautifully.

Since 2012, Ari and I have corresponded regularly on health and healthcare policy.
And as of earlier this year, I joined his new venture to create a virus-free existence
for warehouse staﬀ (for Amazon, UPS, etc) through wearable ultraviolet light (UVC)
devices that kill and disinfect against COVID19 (and other pathogens). He’s a straight
shooter, funny, sharp, and motivated. His concern for his fellow humans, regardless
of political or emotional bias, is clear through his work to protect apartment
residents via his GateGuard services, through putting the patient in the driver’s seat
of healthcare (a major vector of his 12Gurus conference theme), and his newest
venture to eradicate COVID19 from front-line workers (of which I’m a proud partner).


I hope you find his small error excusable and instantly recoverable. I’m a strong
supporter of Mr Ari Teman and see his increasing impact on personal technology
and safety as an urgent and needed injection into the nation, especially during these
sickly times.

Sincerely yours,
Case 1:19-cr-00696-PAE Document 145-2 Filed 07/07/20 Page 2 of 2




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